                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF TENNESSEE
                               AT KNOXVILLE



 UNITED STATES OF AMERICA                 )

                                          )
                v.                                         No. 3:02-cr-078-19
                                          )

 JEFFREY ROSS, a/k/a JEFFREY              )
 MYNATT, a/k/a J.R.
                                          )



                          MEMORANDUM AND ORDER



             This matter is presently before the court on defendant’s pro se motion

 [Doc. 908] requesting copies of the transcripts covering his initial appearance and

 arraignment in 2002, as well as the hearing regarding his sentencing which was

 imposed on June 10, 2003. Because the defendant represents that he is indigent,

 he requests a free copy of both transcripts.



             The specific reason why defendant requests these transcripts is to

 confirm that this court ordered defendant’s federal sentence of 92 months to run

 concurrent with his state sentence. For the following two reasons, defendant’s

 motion must be denied.




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             First, defendant is not entitled to a free transcript of these proceedings

 under these circumstances. If, for example, defendant had a motion to vacate, set

 aside or correct his sentence pursuant to 28 U.S.C. § 2255 pending, then defendant

 might under those circumstances be entitled to a free transcript of those two

 proceedings. See, e.g., United States v. Connors, 904 F.2d 535 (9th Cir. 1990);

 United States v. Lewis, 605 F.2d 379, 380 (8th Cir. 1979). Second, and more

 importantly, there is no dispute in this record that the defendant was sentenced to

 a term of 92 months to run concurrent with his state sentence. A review of the

 judgment filed on June 13, 2003 [Doc. 473] reflects the following:


             The defendant is hereby committed to the custody of the
             United States Bureau of Prisons to be imprisoned for a
             total term of 92 months.

             To be served concurrent with the state sentence on which
             defendant is currently serving[.]


 [See Doc. 473, p.2]. Additionally, the court’s judgment is completely consistent with

 the minute entry filed on June 10, 2003, which reflects that the defendant is

 sentenced to “92 months imprisonment to be served concurrently with state

 sentence.” [See Doc. 462].



             In view of the above, there should be no question whatsoever by the

 Bureau of Prisons as to the intent of this court in sentencing the defendant with



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 respect to his state sentence. Accordingly, defendant’s pro se motion [Doc. 908] is

 hereby DENIED.



                        ENTER:



                                                    s/ James H. Jarvis
                                             UNITED STATES DISTRICT JUDGE




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